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                            瑠ヾTHE         UNITED STATES DISTRICT coURT
                                       FOR THE DISTRICT OF HAWAII
'      KELI'I AKINA, eral.,                              Case l:15‐ CV‐ 00322̲JMs̲BMK

                   P滋 加r薦
                                                         DECLARATION OF JOSIAH L.HooHILI
                                 V.


       STATE OFIIAWAII)̀′ αl,

               Defendants,

                   and

       JoSIAH L. Hoouutl, er al.,

                  I nt e rv e no r - D efen dan t s,


                                      DECLARAfiON OFJOSIAII L. HOOHULI

             JoSIAH L. Hoonur:, pursuanr to 28 U.S.C. S 1746, under penalty of perjury,

      and deposes aud says as follows:

             1.   I am one of the parties attempting to intervene in the above-captioned matter.

             2.I am a U.S.M,C. Veteran.
             3. I am pure blood native Hawaiian, and hornestead lessee,

             4. I was raised on his mother's homestead, who received her lease in 1930.

             5. I have lived my entire life on thE Hawaiian homestead, except for two years

      in california while in the service, but served two years in the usMC in Hawaii, when
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   I resided upon my homestead.

          6. I have significant cultural, social, and civic connections with the native

   Hawaiian community.

          7. My main inrerest is full implementarion of the HHCA, rehabilitation and

   self-determination of native Hawaiians, use of $ 5(0 monies to benefit native

   Hawaiians and to settle the homelands.

          8. I srongly objecr to the inclusion ofHawaiians having less that one-halfpart

   of the blood participating in the organization of any entity purporring ro represent

   native Hawaiians of the blood.

         9. I support the right of native Hawaiians to self-determination, in parricular

  to their right to determine for themselves the blood quanrum necessary for
  membership in any native Hawaiian governing entity.

         10. I opposed rhe State of Hawaii creating OHA in 1979, giving OHA g 5(f)

  monies, while OHA doss not help fund the HHCA.

         1l. I believe native Hawaiian beneficiaries should be in charge of their own

  money so that it can be used for native Hawaiian economic independence,

  self-sufficiency and rehabilitation uporr the homelands,

         12. I am a founding member of Ho'ala Kanawai, Inc, that was formed in about

  1975, and is significant bscause it was an educational agency charged to educate

  native Hawaiians about ss 5(0 of the Admission Acr, and also to be the entity for

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   native Hawaiiafls.

          13. On December 1, 2001, I along with three other Intervenors, Ka Lahui

   Hawaii and the Anahola Homesteadors Association filed a complaint in the U.S.

   District Court for ths Distict of Hawaii, Civil No. 01-817, against Gale Norton,

   sesretary of the Department of rhe Interior, seeking to establish the right of native

   Hawaiians to organize themselves into sovereign tribal entities, as provided in the

   Indian Reorganization Act of 1934,25 U.S.C., $ 461 et seq., bur excluded fromdoing

   so by 25 C.F.R. $ 83,1,

          14. On October 13. 2005, I along with the other Intervenors fiied a complainr

   against the Trustees of the Office of Hawaiian Affairs, in the U.S. District Courr for

   the District of Hawaii, Civil No. 05-649 seeking to prevent OHA from expending

   proceeds of the $ 5(f) trust for the benefit of Hawaiians without regard to rhe not less

   than one-half pa* of the blood as defined by the HHCA, based upon g g 4 and 5(f) of

   the I{awaii Admission Act.

          15   . In January , 2009 , I along with the other Intervenors :frled an amicus brief
   in the United States Supreme Court in Srare of Hawaii v. Office of Hawaiian Affairs,

   No. 07-1372.

          16. In that case, OHA was attempting to prevent the saie of g 5(f) lands by the

   State of Hawaii purportedly on the grounds of claims by native Hawaiians. In our

  brief we took the position that oHA was making claims on behalf of Hawaiians
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   without regard to the not loss than oneJralf part blood quanrum in tho HHCA and $

   5(f), and that OHA's argument was valid only if the blood quantum were restricted

   to not less than one-half part.

          17. On March 23,201L,I along with the other Intervenors filed a complaint

   againstthe Trustees of the Office of Hawaiian Affairs, in the Circuit Court of theFirst

   Circuit, State of Hawaii, Civil No. 11-1-575, seelcing to prevent OHA fromexpending

   proceeds of the 5\ 5(f) trust for the benefit of Hawaiians without regard to the not iess

   than one-half part of the blood as defiued by the HHCA, based upon state law.

         I declarc under penalty of perjury under rhe laws of the united states that the

  loregoin.・ is tme and corect.

                                                                                       ｀
                                 ̲day of september,2015,at 繭 ″た
                            Jう
         Executed this̲̀ζ                                                         f′
                                                                                       Hawaii.




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